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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                            )
 MOHAMMAD HILMI NASSIF &                    )
 PARTNERS,                                  )
              Plaintiff,                    )
                                            )     Case No. 1:17-cv-02193-KBJ
 v.                                         )
                                            )
 REPUBLIC OF IRAQ, et al.,                  )
                                            )
                       Defendants.          )
                                            )


                DEFENDANTS REPUBLIC OF IRAQ’S AND MINISTRY
             OF INDUSTRY & MINERALS OF THE REPUBLIC OF IRAQ’S
                     MOTION TO DISMISS THE COMPLAINT

       Defendants Republic of Iraq and Ministry of Industry and Minerals of the Republic of

Iraq, move pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), to dismiss the

Complaint by Plaintiff Mohammad Hilmi Nassif & Partners, as set forth in detail in the

accompanying Memorandum of Points and Authorities.
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DATED: November 13, 2020                   Respectfully submitted,

                                           /s/ Creighton R. Magid
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                                           Attorneys for Defendants Republic of Iraq and Ministry
                                           of Industry & Minerals of the Republic of Iraq


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of November, 2020, I electronically filed the

foregoing Defendants Republic of Iraq’s and Ministry of Industry & Minerals of The Republic of

Iraq’s Motion to Dismiss the Complaint, proposed Order, Declaration of Hanan Munther Niseaf,

and Declaration of Ibrahim Al-Qatawneh with the Clerk of the Court for the United States

District Court for the District of Columbia using the CM/ECF system, which automatically

served opposing counsel in this case.



                                             /s/ Creighton R. Magid_______
                                             Creighton R. Magid




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